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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                          Case No. 1:19-cv-02443-RDM

            v.

 JONES DAY, STEPHEN J. BROGAN,
 BETH HEIFETZ, and JOHN DOES 1-10,

      Defendants.



  JOINT STATUS REPORT REGARDING DISPUTES OVER PROTECTIVE ORDER

       Pursuant to the Court’s order of June 4, 2021, the Parties submit this joint status report to

inform the Court of the status of the four disputed issues discussed on the conference on that date:

       1.        Logikcull: The Parties have agreed that Plaintiffs may use their discovery review

platform (Logikcull) to review Discovery Material produced in this Action, subject to Defendants’

right to designate and separately produce up to 1000 pages that cannot be reviewed on the platform.

The Parties are in the process of drafting language to implement that agreement.

       2.        Attorney Eyes Only Protective Order: The Parties continue to dispute whether the

Court should enter Plaintiffs’ proposed “attorney eyes only” protective order.          The Parties

therefore propose that Plaintiffs shall file a brief in support of their proposed protective order by

June 18, 2021, and that Defendants shall file an opposing brief by June 28, 2021. The Parties

propose to file their briefs on the public docket with any redactions necessary to maintain the

confidentiality of the communications that Plaintiffs submitted for in camera review and, if the
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publicly filed version contains redactions, to submit unredacted versions for in camera review via

email to the Court’s Courtroom Deputy, as with Plaintiffs’ initial in camera submission on June 7.

       3.       Depositions and Material Not Obtained in Discovery: The parties are in the process

of drafting language to implement the Court’s resolution of their other two disputes, which

concerned (a) the use of designated material during depositions; and (b) the procedure for a Party

to seek a protective order covering material produced by another Party.

       4.       The parties will submit as soon as practicable a proposed protective order

incorporating all agreed upon or otherwise resolved provisions. The disputed Attorney Eyes Only

provision described supra will be omitted from that draft, and Plaintiffs will submit the provision

as a separate proposed order with their June 18, 2021 brief.



Respectfully submitted,                                                             June 11, 2021



 /s/                                                /s/
 Julia Sheketoff (pro se)                           Terri L. Chase (pro hac vice)
 2207 Combes Street                                 JONES DAY
 Urbana, IL 61801                                   600 Brickell Avenue, Suite 3300
 (202) 567-7195                                     Miami, Florida 33131
 sheketoff@gmail.com                                Phone: 305-714-9700
                                                    Email: tlchase@jonesday.com
 s/
 Mark C. Savignac (pro se)                          Traci Lovitt (Bar No. 467222)
 2207 Combes Street                                 JONES DAY
 Urbana, IL 61801                                   250 Vesey Street
 (217) 714-3803                                     New York, NY 10281
 marksavignac@gmail.com                             Phone: (212) 326-3939
                                                    Email: tlovitt@jonesday.com
 Plaintiffs
                                                    Christopher DiPompeo (Bar No. 1003503)
                                                    JONES DAY
                                                    51 Louisiana Avenue NW
                                                    Washington, DC 20001
                                                    Phone: (202) 879-3939



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                                  Email: cdipompeo@jonesday.com

                                  Anderson T. Bailey (pro hac vice)
                                  JONES DAY
                                  500 Grant Street
                                  Pittsburgh, PA 15219
                                  Phone: (412) 391-3939
                                  Email: atbailey@jonesday.com

                                  Counsel for Defendants




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